           Case 3:20-cr-01491-DMS Document 44 Filed 01/14/21 PageID.88 Page 1 of 2                                             I


AO 245B (CA:SDReV. 1119) Judgment in a Criminal Case                                                                           I'
                                                                                                                               I




             UNITED STATES OF AMERJCA                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                (For Offenses Committed On or After November I, 1987)

         OSCAR ALBERTO MARIN BARBOSA                                  Case Number:           20CR1491-DMS

                                                                   Grant Eddy CJA
                                                                    Defendant's Attorney
USM Number                       57941112
• -
THE DEFENDANT:
IZl pleaded guilty to count(s)         1 of the Information

 D was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                       Nature of Offense                                                            Number(s)
8 USC 1326                            ATTEMPTED REENTRY OF REMOVED ALIEN                                               I




     The defendant is sentenced as provided in pages 2 through                2             of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count( s)
 D Count(s)                                                   is          dismissed on the motion of the United States.

      Assessment: $100.00


 D JVTA Assessment*: $
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 IZl No fine                 • Forfeiture pursuant to order filed                                      , included herein.
        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                    Date oflmposition of Sentence



                                                                     HON. Dana             . a raw
                                                                     UNITED STATES DISTRICT JUDGE
     '          Case 3:20-cr-01491-DMS Document 44 Filed 01/14/21 PageID.89 Page 2 of 2
    AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

    DEFENDANT:                OSCAR ALBERTO MARIN BARBOSA                                              Judgment - Page 2 of 2
.. · ... €kSfrNHMBER  ..~~2oeRN9I~BMS
                   1 >~
                                                                                                                                --i
                                                      IMPRISONMENT
     The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
     TWENTY-FOUR (24) MONTHS.




     •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
     •     The court makes the following recommendations to the Bureau of Prisons:




     •     The defendant is remanded to the custody of the United States Marshal.

     D     The defendant must surrender to the United States Marshal for this district:
           •   at
                    ---------               A.M.             on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           •     as notified by the United States Marshal.

           The defendant must surrender for service of sentence at the institution designated by the Bureau of
     •     Prisons:
           •     on or before
            D    as notified by the United States Marshal.
           •     as notified by the Probation or Pretrial Services Office.

                                                            RETURN
     I have executed this judgment as follows:

           Defendant delivered on                                            to _ _ _ _ _ _ _ _ _ _ _ _ _ __


     at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                      UNITED STATES MARSHAL



                                          By                    DEPUTY UNITED STATES MARSHAL



                                                                                                            20CR1491-DMS
